Case 3:13-cv-01045-SI   Document 137-3   Filed 07/22/14   Page 1 of 27




                         Exhibit
                           81
                 Case 3:13-cv-01045-SI            Document 137-3           Filed 07/22/14         Page 2 of 27




                 GIZMODO (/)
      (/)
The Top Ten Most Dangerous Things You Can Do Online
(http://gizmodo.com/5614047/the-top-ten-most-dangerous-
things-you-can-do-online)
      Achal Khetarpal - CyberDefender                                                                            244,063
      Filed to: ONLINE SECURITY (/TAG/ONLINE-SECURITY)   8/16/10 5:40pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-d


    EXPAND




Researchers at Internet security service provider CyberDefender (http://www.cyberdefender.com/)
looked at some of the most dangerous things you can do online and explained how to protect yourself if
you're not quite ready to give up things like Internet porn completely.

Checking the "Keep me signed in" box on public PCs

How to protect yourself:

·    NEVER, ever, check the "keep me signed in" box if you're not using your personal laptop or home
     desktop
·    Be careful with work computers. Y our office PC might feel "yours" but others can easily snoop
     when you're away from your desk. They could do something as simple as forward all your
     messages to their own private email account
·    If you just signed IN to Google, eBay, Amazon or other site from a public PC, make sure to sign
     OFF once you're done

·    Delete your browser history from the browser tools when completed to protect your privacy

·    Using your browser's privacy mode while browsing prevents information such as the websites you
     visited from being stored. Internet Explorer 8 calls it "InPrivate Browsing" and Google Chrome
                                                                                              Ex.81-p.1
                 Caseincognito
     calls it a "New  3:13-cv-01045-SI
                               window" Document 137-3          Filed 07/22/14    Page 3 of 27

·    Never save passwords even when prompted to do so by your browser because someone else using
     your computer later would have access to your accounts


Failing to update Microsoft Windows OS /Java / Adobe Reader / Adobe Flash

How to protect yourself:

·    Java / Adobe Reader / Adobe Flash are responsible for an astounding number of PC infections due
     to security exploits. The best way to avoid becoming a target is to update all three pieces of software
     as often as you can. Flash will prompt you automatically, but you can tell Java to search for
     updates daily, instead of bi-monthly. Sign in for automatic updates with Adobe Reader as well

·    Make sure to update your windows operating system. One way to do this is to set your windows
     updates to install automatically. This will reduce your exposure to hackers exploiting vulnerabilities
     in the windows operating system


Searching for celebrity gossip, incriminating material (i.e. sex tapes)

How to protect yourself:

·    This one is a no-brainer. Always be cautious while accessing this material. Malware authors know
     that people naturally gravitate towards the sex/celebrity combo, so new attacks are targeted
     specifically towards this crowd

·    If you must, search for your news on Google News, Bing News or other aggregator. These services
     do a basic triage of sites, so chances are you'll be kept from reaching infected blogs/web pages

·    When searching on Google use https://www.google.com instead of the common
     http://www.google.com, which will send your search request through an encrypted SSL
     connection. CyberDefender has found that doing so reduces the risk of being infected from search
     results.


Using BitTorrent to download copyrighted software/ﬁlm/TV shows

How to protect yourself:

·    Stick to official downloads/streams such as iTunes, Hulu and legitimate websites. Avoid torrent
     sites at all costs – even if legit (not malicious), some of the ads found in torrent sites could be
     compromised. Drive-by downloads are often found in compromised ads and can infect computers
     without any sort of user input. Visit site -> get infected automatically

·    Do not download pirated material
                                                                                                    Ex.81-p.2
              Case 3:13-cv-01045-SI
     Do not download pirated material :)Document 137-3         Filed 07/22/14    Page 4 of 27
·
Searching for free porn

How to protect yourself:

·    Like everything else "free" on the Internet, free adult content might turn out to be quite expensive.
     Free porn sites can be downright shady in the way they treat users. That's what makes them ideal
     targets for bad guys

·    Similar to our advice re: torrent sites. The same principle applies here: stick to paid sites. They're
     interested in keeping users happy, so security will be better. Y ou'll be considerably less exposed to
     malware this way
     Invest in a high-quality security suite such as CyberDefender's Early Detection Center 3.0, which
     includes

·    CyberDefender's Link Patrol toolbar. This browser-based utility automatically scans links for
     malware before users click on them


Online gaming (free to play, social games on Facebook and beyond)

How to protect yourself:

·    Be careful when downloading free to play (F2P) clients. If the client software is malicious – or
     quality assurance happens to be spotty – you could be putting your PC at risk

·    Don't give out your login information to strangers. In fact, don't give out ANY kind of information,
     personal or not, to people you meet gaming. At the very least, you could have your virtual items
     stolen. At worst, you could lose real money

·    Avoid falling for the old "FarmVille Secrets" scam. Y ou will either download a Trojan or expose
     your Facebook login info to criminals


Leaving Facebook privacy settings wide open, therefore exposing personal info to all

How to protect yourself:

·    Carefully review your privacy settings on Facebook. Err on the side of caution – don't let "friends of
     friends" see your birthday, cell phone number, etc. All of these could be used in an attempt to
     impersonate you to credit cards, credit unions, etc

·    Only friends should have access to the more personal layer of information we all have. So choose
     your friends wisely – "serial friending" would expose you just as well


Connecting to unknown wireless networks                                                            Ex.81-p.3
How to protect Case 3:13-cv-01045-SI
               yourself:                  Document 137-3       Filed 07/22/14   Page 5 of 27


·    In public places, like airports and hotels, be careful about logging into unknown (private) wireless
     networks. In a hotel for instance, be sure you choose the official one, not another in the
     neighborhood. Bad guys can eavesdrop as you use your computer, "imitating" a real, safe
     environment

·    Public settings for your laptop are a whole lot more secure – e.g. no file sharing, increased firewall
     settings, etc


Using the same password for every single online account

How to protect yourself:

·    It's hard work to remember several different passwords, so no wonder some use the same password
     over and over again. But if that one password leaks out to cybercriminals, your entire online life is
     suddenly open to the world

·    Keep different passwords for different purposes. Keep email and social media passwords separate,
     for example

·    Certain browsers can also help with a "master password" that keeps a multitude of passwords in
     check. So even if you have different passwords for different services, you only have to remember
     the master password Using a tool (Roboform or Password Vault) for this purpose that encrypts
     password information and uses best practices to generate passwords is an even better idea


Trying to get a free iPad, PlayStation 3 or similar gadgets (scams/phishing)

How to protect yourself:

·    Oldie but goodie: there's no such thing as a free lunch

·    If an online offer sounds too good to be true, it usually is

·    Avoid any kind of giveaway that's not supported in a big way by a known brand, even if it happens
     to be an online brand (like Zappos, for example)

·    Keep a security suite fully updated, since most of them can catch phishing attempts resulting from
     this kind of scam



    Illustration by Sam Spratt. Check out Sam's portfolio (http://w w w .samspratt.com/) and become a fan
    of his Facebook Artist's Page (http://w w w .facebook.com/SamSprattIllustration).



                                                                                                  Ex.81-p.4
    Like     1.3k     Case 3:13-cv-01045-SI                Document 137-3           Filed 07/22/14       Page 6 of 27 432               Reply


         Rosa Golijan’s Discussions (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online)

                All replies (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online/all)



  8/16/10 6:00pm                                                                                        kaisermachead started this thread


                                      kaisermachead (http://kaisermachead.kinja.com)           Achal Khetarpal - CyberDefender
                                      8/16/10 6:00pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=2760993
(http://kaisermachead.kinja.com)
Giving porn sites your credit card number is a clear indication that you've given up, and your
hunter/gatherer skills have been washed away by years of conditioning and suppressing your predatory
instincts. A good forager will always find prime porn with only time being spent. All it takes is patience,
tracking the links, and above all else, sifting through the various forums and torrent listings. If you think
that free porn is unsafe, what makes you think porn sites that actually ask for a credit card number are
at all safer? Y eah, give BustyGFRevenge your credit card. Y ou want to see more of Next Door Nikki, but
don't know where to look. Y ou're afraid that the tgp pages that randomly come out of each link will
suddenly give you an e-TD. Y ou're weak, and deserve no pity.

                                                                                                                                        Reply


                                   25toLife (http://25tolife-old.kinja.com)    kaisermachead
                                   8/16/10 6:11pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27610572#com
(http://25tolife-old.kinja.com)
@Kaiser-Machead v.2.1.1: Hahaha...love it...except I have an amendment.

"A good forager will always find prime porn with only time being spent."

A good forager will find an acceptable, non-digital mate or mates, and eliminate the need for internet
pornography.

                                                                                                                                        Reply


                                    DanielJ (http://danieljortiz3.kinja.com)    kaisermachead
                                    8/16/10 6:22pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27611150#co
(http://danieljortiz3.kinja.com)
@Kaiser-Machead v.2.1.1: And this is why I hearted you. The weak deserve no pity.

                                                                                                                                        Reply


                            skrawg (http://skrawg.kinja.com)        kaisermachead
                            8/16/10 6:22pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27611167#comme
(http://skrawg.kinja.com)
                                                                                                                                 Ex.81-p.5
     EXPAND          Case 3:13-cv-01045-SI               Document 137-3            Filed 07/22/14      Page 7 of 27




(http://cache.gawker.com/assets/images/comment/4/2010/08/f7cfff18a1ec0047970dafe35744e212/or
iginal.gif)

@Kaiser-Machead v.2.1.1:

                                                                                                                                      Reply


                               ChipSuey (http://chipsuey.kinja.com)     25toLife
                               8/16/10 6:24pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27611258#comm
(http://chipsuey.kinja.com)
@25toLife: Wait till you get married.

It's funny b/c it's true.

                                                                                                                                      Reply


      Show 6 more replies in this thread (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?
                                                   comment=27609936#comments)


  8/16/10 6:51pm                                                                                            dicer999 started this thread


                                  dicer999 (http://dicer999-old.kinja.com)     Achal Khetarpal - CyberDefender
                                  8/16/10 6:51pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27612750#co
(http://dicer999-old.kinja.com)
Most of these are for windows - you should do some for Mac

                                                                                                                                      Reply


                              Mifune (http://mifunet.kinja.com)    dicer999
                              8/16/10 6:56pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27613034#comm
(http://mifunet.kinja.com)
@dicer999: All of this applies to Mac and mobile OS users as well. Mac OSX and mobile OS browsers are
no safer than Windows, and their users cannot assume that they have security through obscurity. On
the contrary, Mac and mobile users are a prime target for security exploits for this very reason.
                                                                                                 Ex.81-p.6
                Case 3:13-cv-01045-SI
Basically, use common   sense.                           Document 137-3            Filed 07/22/14        Page 8 of 27

                                                                                                                                       Reply


                                          MayorBloomberg (http://mayorbloomberg-old.kinja.com)            Mifune
                                          8/16/10 7:05pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=276
(http://mayorbloomberg-old.kinja.com)
@MifuneT: That's not terribly helpful though. It's one thing to say "you never know," and another thing
to say "this is a threat you need to look out for." In theory, malware can be directed toward OS X, but in
practice, hackers seem fairly uninteresting in giving it much effort. Is Cyberdefender even available for
Mac?

                                                                                                                                       Reply


                                     funkotronic (http://funkotronic-old.kinja.com)     Mifune
                                     8/16/10 7:07pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27613611#
(http://funkotronic-old.kinja.com)
@MifuneT: Examples, please? I'm under the understanding that drive-bys for the Mac, while technically
possible, are quite rare in the wild. Am I wrong? TIA...

                                                                                                                                       Reply


                             Mifune (http://mifunet.kinja.com)      funkotronic
                             8/16/10 7:21pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27614336#comme
(http://mifunet.kinja.com)
@funkotronic: [www.securemac.com] (http://www.securemac.com/)

http://arstechnica.com/apple/news/2010/04/apple-patches-pwn2own-exploit-in-mac-os-x.ars

[news.techworld.com] (http://news.techworld.com/security/1798/mac-os-x-security-myth-exposed/)

I think they are rare in the wild in practice, but it's no reason to let one's guard down.

                                                                                                                                       Reply


      Show 6 more replies in this thread (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?
                                                    comment=27612750#comments)


  8/16/10 6:41pm                                                                                           hawkeye18 started this thread


                                hawkeye18 (http://hawkeye18.kinja.com)          Achal Khetarpal - CyberDefender
                                8/16/10 6:41pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27612206#com
(http://hawkeye18.kinja.com)
Should be "10 Tips For Dumbasses"


                                                                                                                               Ex.81-p.7
               Case
Srsly, you should    3:13-cv-01045-SI
                  know                     Document
                        all this stuff by now.        137-3
                                               And if you     Filed
                                                          didn't,    07/22/14
                                                                  then          Page
                                                                       pretend you did,9 because
                                                                                         of 27 you do now

and nobody can prove you didn't.

#fauxrections (http://gizmodo.com/tag/fauxrections/)

                                                                                                                                       Reply


                             EvanSei has a star (http://evansei.kinja.com)      hawkeye18
                             8/16/10 7:36pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27615142#comme
(http://evansei.kinja.com)
@hawkeye18: I think of it this way, if you didn't know this stuff you probably wouldn't be reading
gizmodo anyways

                                                                                                                                       Reply


                                hawkeye18 (http://hawkeye18.kinja.com)        EvanSei has a star
                                8/16/10 9:42pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27620663#co
(http://hawkeye18.kinja.com)
@EvanSei: This.

                                                                                                                                       Reply


                             EvanSei has a star (http://evansei.kinja.com)      hawkeye18
                             8/16/10 9:52pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27621094#comm
(http://evansei.kinja.com)
@hawkeye18: That

                                                                                                                                       Reply


                                          TheNickronomicon (http://thenickronomicon-old.kinja.com)          hawkeye18
                                          8/17/10 1:15am (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=276
(http://thenickronomicon-old.kinja.com)
@hawkeye18: Y eah, if everyone's been using the web for as long as you have. There ARE people who are
new at this, for whatever reason—maybe they were too young, maybe they had restricted access to
technology, maybe they had a family member or significant other do it for them—and *that* population
may find an overview like this useful. Are they dumbasses? No, they just haven't been educated yet. And
they can have this article forwarded to them by their tech-savvy friends or relatives and learn. :) That's
sort of the point of all this information-sharing, isn't it?

                                                                                                                                       Reply


      Show 2 more replies in this thread (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?
                                                   comment=27612206#comments)


  8/16/10 6:36pm                                                                                               bitgod started this thread

                                                                                                                               Ex.81-p.8
                     Case 3:13-cv-01045-SI                Document 137-3           Filed 07/22/14       Page 10 of 27

(http://bitgod-old.kinja.com)
bitgod (http://bitgod-old.kinja.com)
1. Going   online.                            Achal Khetarpal - CyberDefender
8/16/10 6:36pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27611953#comments)
                                                                                                                                        Reply


                                           MayorBloomberg (http://mayorbloomberg-old.kinja.com)           bitgod
                                           8/16/10 7:06pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=276
(http://mayorbloomberg-old.kinja.com)
@bitgod: Bingo. Better to just stick with postal service.

                                                                                                                                        Reply


                                 StalePhish (http://stalephish.kinja.com)     MayorBloomberg
                                 8/16/10 7:44pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27615481#com
(http://stalephish.kinja.com)
@MayorBloomberg: That's why I get my email mailed to me: [mail.google.com]
(http://mail.google.com/mail/help/paper/more.html)

                                                                                                                                        Reply


                                jmicha (http://jmicha17.kinja.com)    MayorBloomberg
                                8/16/10 7:58pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27616105#comm
(http://jmicha17.kinja.com)
@MayorBloomberg: what if you get anthrax inside your mail?

                                                                                                                                        Reply


                                        Aaron Senecal (http://aaron-senecal-old.kinja.com)        MayorBloomberg
                                        8/16/10 8:10pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=276166
(http://aaron-senecal-old.kinja.com)
@MayorBloomberg:

What about anthrax?!?

                                                                                                                                        Reply


      Show 2 more replies in this thread (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?
                                                    comment=27611953#comments)


  8/16/10 6:01pm                                                                                           phunnyballs started this thread


                                       phunnyballs (http://phunnyballs-old.kinja.com)      Achal Khetarpal - CyberDefender
                                       8/16/10 6:01pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=2760998
(http://phunnyballs-old.kinja.com)


                                                                                                                                Ex.81-p.9
              Caseknow
This author doesn't 3:13-cv-01045-SI    Document
                         what he is talking about. 137-3    Filed
                                                   "Paid" sites   07/22/14
                                                                mean        Page
                                                                      nothing.    11 ofcan
                                                                               Anyone   27 charge for

use. It doesn't make them any more legitimate than free sites. In fact many "paid" sites use the faux
sense of security paying for something gives them to do identity theft and what not.

                                                                                                                                       Reply


                                      phunnyballs (http://phunnyballs-old.kinja.com)       phunnyballs
                                      8/16/10 6:09pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=2761045
(http://phunnyballs-old.kinja.com)
@phunnyballs: And he said not to trust Zappos? Seriously? They are owned by one of the biggest
Corporations in America; Amazon.

                                                                                                                                       Reply


                                      kaisermachead (http://kaisermachead.kinja.com)         phunnyballs
                                      8/16/10 6:10pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27610513
(http://kaisermachead.kinja.com)
@phunnyballs: Y eah, I don't get it. Amazon is one of the most trustworthy vendors you can turn to.
These people support a device of theirs that has constant wireless access anywhere via whispernet.

                                                                                                                                       Reply


                                     Crisss1205 (http://crisss1205-old.kinja.com)     phunnyballs
                                     8/16/10 6:19pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27610950#
(http://crisss1205-old.kinja.com)
@phunnyballs: Isn't fleshbot.com free? I guess you cannot trust Gawker!

                                                                                                                                       Reply


                                       thomasl2003 (http://thomasl2003-old.kinja.com)         phunnyballs
                                       8/16/10 10:00pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27621
(http://thomasl2003-old.kinja.com)
@phunnyballs: He said not to trust online contests UNLESS they are supported (in a big way) by a large
retailer (like Zappos). In other words: Unless a very big retailer (online or not) is hosting the contest,
forget about it.

Of course, there are huge exceptions to this. My idiot facebook friends are always telling me that bestbuy
is giving away $500 giftcards and I should join that group. But, obviously, it is a scam. I'd prefer if they
said "...and you can call the company to confirm that they are actually hosting said contest..." to make it
really obvious that most contests online are scams.

                                                                                                                                       Reply


      Show 2 more replies in this thread (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?
                                                   comment=27609987#comments)

                                                                                                                              Ex.81-p.10
                     Case 3:13-cv-01045-SI               Document 137-3           Filed 07/22/14        Page 12 of 27
  8/16/10 6:25pm                                                                                         muzicman82 started this thread


                                   muzicman82 (http://muzicman82.kinja.com)          Achal Khetarpal - CyberDefender
                                   8/16/10 6:25pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27611315#co
(http://muzicman82.kinja.com)
Am I the only one that can't stand running anti-virus/malware and firewall applications? I just don't.
I've never gotten a trojan, virus, or hijack on any of my computers.

Here's the thing... I click on things I trust. I don't spend my days pirating software, music, movies. I'm
not on shady websites. So what's the need? I'm pretty much always on a local subnet.

Security suites take up my memory, slow my system down by scanning everything I do, and prompt me
every two seconds if I want to allow something. No thanks.

In the unlikely event that something should happen, I will be clean installing Windows faster than I can
identify the problem. I have clean installs down to a science that takes me less than an hour back to my
normal, but highly-customized state.

I'm not recommending that everyone else do the same... just saying that I personally don't run such
software and don't need it.

                                                                                                                                       Reply


                                      phunnyballs (http://phunnyballs-old.kinja.com)      muzicman82
                                      8/16/10 6:29pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27611500
(http://phunnyballs-old.kinja.com)
@muzicman82: yeah, I have windows and never have installed anything of that nature either. Maybe..
just maybe I would consider it if they weren't so bloated. I do regular check ups to make sure I do not
have a virus, but have decided to go without virus protection.

                                                                                                                                       Reply


                               justinpe (http://justinpe.kinja.com)   muzicman82
                               8/16/10 6:34pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27611826#comm
(http://justinpe.kinja.com)
@muzicman82: Same here except substitute 'OSX' for 'Windows' and 'extremely unlikely' for 'unlikely.'

                                                                                                                                       Reply


                              agies (http://agies1.kinja.com)   muzicman82
                              8/16/10 7:00pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27613278#comme
(http://agies1.kinja.com)
@muzicman82: How do you know you're clean if you don't have antivirus? Viruses and trojans don't
necessarily present the user with symptoms of infection. Y ou could have a zombie PC on a botnet and
not even know it.                                                                                                             Ex.81-p.11
               Case
Even "safe" sites can3:13-cv-01045-SI   Document
                      infect your computer           137-3
                                           if they, or        Filed 07/22/14
                                                       their adverising service,Page
                                                                                 have 13 of 27
                                                                                      been  hacked.

Do yourself a favor and at least run Microsoft Security Essentials. It's free, has a small footprint, and
works very well.

                                                                                                                                        Reply


                                    muzicman82 (http://muzicman82.kinja.com)         agies
                                    8/16/10 9:20pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27619727#c
(http://muzicman82.kinja.com)
@agies: I'm pretty picky when it comes to what is running in the background on my system. I regularly
check my running processes for things I don't recognize. There are often things there, but upon
investigation, they are usually sidekick processes to things I installed. Y es, I know many hijacks disguise
themselves as commonly named files. I have a lot of background in helpdesk and PC repair... This
doesn't make me perfect, but I usually recognize things right away. For instance, I can tell when a
process goes rogue and starts eating my CPU when it shouldn't be.

I run DU Meter all the time to keep tabs on my network adapter traffic in and out. When I see that
meter going when I'm not asking for something upload or download, I track it down! Usually it's some
program doing automatic updates which I usually disable.

                                                                                                                                        Reply


  8/16/10 9:32pm                                                                                                   Mr.V. started this thread


                               Mr.V. (http://mr-v--old.kinja.com)    Achal Khetarpal - CyberDefender
                               8/16/10 9:32pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27620236#com
(http://mr-v--old.kinja.com)
Any reasons for not pirating aside from ads?

                                                                                                                                        Reply


                                       cadenlaguna (http://cadenlaguna-old.kinja.com)         Mr.V.
                                       8/16/10 9:49pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=276209
(http://cadenlaguna-old.kinja.com)
@Mr.V.: the risk of a trojan being planted in the file your downloading etc.

                                                                                                                                        Reply


                                    Zaixionito (http://zaixionito-old.kinja.com)    Mr.V.
                                    8/16/10 11:15pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27624305#
(http://zaixionito-old.kinja.com)
@Mr.V.: ...Y ou really don't know?

Legality in most counties, including being illegal in the United States, European Union...
                                                                                                                              Ex.81-p.12
Moar viruses...Case 3:13-cv-01045-SI                      Document 137-3           Filed 07/22/14        Page 14 of 27


It being stealing from game devvies, except, instead of stealing from people in stores, you steal directly
from the Publisher and Developers...

Aaand, most stolen stuff doesn't work as good as normal.

                                                                                                                                        Reply


                             shooter (http://shooter.kinja.com)       Mr.V.
                             8/17/10 12:12am (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27626305#comm
(http://shooter.kinja.com)
@Mr.V.: Um, how about the fact that it's frikkin' wrong to do?

Did you also cheat your way through high school? College? Steal from your employer?

How about just doing the right and honorable thing and pay for stuff you're supposed to pay for...? Or, is
that just too damned old fashioned or radical for you...?

People like you make me wanna puke from disgust.

                                                                                                                                        Reply


                                    cheers12 (http://cheers12-old.kinja.com)     Mr.V.
                                    8/17/10 12:15am (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27626439#c
(http://cheers12-old.kinja.com)
@Mr.V.: RIAA and MPAA

                                                                                                                                        Reply


     Show 14 more replies in this thread (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?
                                                  comment=27620236#comments)


  8/16/10 8:20pm                                                                                            Nick Sweet started this thread


                                     Nick Sweet (http://nick-sweet-old.kinja.com)        Achal Khetarpal - CyberDefender
                                     8/16/10 8:20pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27617061#
(http://nick-sweet-old.kinja.com)
Best password technique you'll ever read:

Have a base password with a capital, lowercase and number in it of 4-6 characters. Then, based on
whichever site you're trying to access, add on, say, the first 3 consonants.

For instance: if my base password was Ngf33, and I was logging onto my gizmodo account, my
password would be Ngf33gzm, then if I was logging into Facebook I'd use Ngf33fbk

                                                                                                                                      Reply
                                                                                                                               Ex.81-p.13
                     Case 3:13-cv-01045-SI              Document 137-3           Filed 07/22/14         Page 15 of 27
                                       haran_elessar (http://haran_elessar-old.kinja.com)       Nick Sweet
                                       8/16/10 8:28pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=276174
(http://haran_elessar-old.kinja.com)
@Nick Sweet: I like this idea; thanks for sharing.

                                                                                                                                       Reply


                                   Denver is too damn high (http://denver_80211.kinja.com)        Nick Sweet
                                   8/16/10 10:11pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27621857#
(http://denver_80211.kinja.com)
@Nick Sweet: Y our bank account is now empty

                                                                                                                                       Reply


                            Rav Gar (http://ravgar.kinja.com)     Denver is too damn high
                            8/17/10 12:24am (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27626720#comm
(http://ravgar.kinja.com)
@Denver: +1 for you and a heart

                                                                                                                                       Reply


                                   LaVerdura (http://laverdura-old.kinja.com)     Denver is too damn high
                                   8/17/10 6:17am (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27632922#c
(http://laverdura-old.kinja.com)
@Denver: And your FB-"friends" spammed.

                                                                                                                                       Reply


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                                                    comment=27617061#comments)


  8/16/10 5:50pm                                                                                             nlshelton started this thread


                               nlshelton (http://nlshelton.kinja.com)    Achal Khetarpal - CyberDefender
                               8/16/10 5:50pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27609396#com
(http://nlshelton.kinja.com)
Is Farmville really that old enough to get away with calling a Farmville Secrets scam "old"? That made
me laugh.
                                                                                                                                       Reply


                                    kaisermachead (http://kaisermachead.kinja.com)          nlshelton
                                    8/16/10 5:58pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=2760985
(http://kaisermachead.kinja.com)
@nlshelton: Internet time functions differently from real time. For every hour in real life, 2 days pass
over the web.
                                                                                                                             Ex.81-p.14
                     Case 3:13-cv-01045-SI                Document 137-3              Filed 07/22/14     Page 16 of 27
                                                                                                                                        Reply


                                    DanielJ (http://danieljortiz3.kinja.com)       nlshelton
                                    8/16/10 6:25pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27611286#co
(http://danieljortiz3.kinja.com)
@nlshelton: The internet is like a dream stage. Ads use inception to make us believe we need to stay on
it, making us dive deeper into the internet until we're in limbo. Facebook, Y ouTube, Gizmodo, all these
sites trap us here, until we realize we're on the internet for 7 hours straight.... oh crap.

                                                                                                                                        Reply


                                 jezzarisky (http://jezzarisky.kinja.com)        DanielJ
                                 8/16/10 9:35pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27620350#com
(http://jezzarisky.kinja.com)
@DanielJ: haha, I love the comparison.

                                                                                                                                        Reply


  8/16/10 5:55pm                                                                                                     GC started this thread


                                GC (http://goalcam.kinja.com)      Achal Khetarpal - CyberDefender
                                8/16/10 5:55pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27609650#com
(http://goalcam.kinja.com)
Stick to paid porn sites? Haha, yeah right.

                                                                                                                                        Reply


                                 Ding-DangBlog (http://ding-dang.kinja.com)           GC
                                 8/16/10 5:58pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27609833#com
(http://ding-dang.kinja.com)
@GC: If you pay for it, it's like admitting you have a problem.

                                                                                                                                        Reply


                                   Lupison (http://lupison-old.kinja.com)        GC
                                   8/16/10 5:59pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27609890#co
(http://lupison-old.kinja.com)
@GC: oh tubes that are colored red, you are my savior of happy times.

                                                                                                                                        Reply


                           Chiz0 The Grey! (http://chiz0.kinja.com)         GC
                           8/16/10 6:02pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=27610051#commen
(http://chiz0.kinja.com)
@GC: Wait, you mean people actually still PAY for porn?!?

                                                                                                                                        Reply
                                                                                                                              Ex.81-p.15
                   Case 3:13-cv-01045-SI        Document 137-3 Filed 07/22/14
                                Sintar (http://canedlimabeans001.kinja.com) GC                       Page 17 of 27
                                       8/16/10 6:41pm (http://gizmodo.com/5614047/the-top-ten-most-dangerous-things-you-can-do-online?comment=2761
(http://canedlimabeans001.kinja.com)
@GC: Paying for things costs money, right?

Y eah, I don't think I can do that. Porn should always be free. Like Eagles.

                                                                                                                                     Reply


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           classics, comedy, documentary, drama, foreign, horror, independent films, music, science fiction and
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           documentary, drama, foreign, horror, independent films, music, science fiction and sports; Downloadable
           files from a remote computer location featuring motion picture and audio visual entertainment, namely,
           action, adult, adventure, animation, classics, comedy, documentary, drama, foreign, horror, independent
           films, music, science fiction and sports which is downloaded via the internet and wireless devices. FIRST
           USE: 20060731. FIRST USE IN COMMERCE: 20060731

                    IC 038. US 100 101 104. G & S: Broadcasting of video and audio programming over the Internet;
                    Broadcasting programs via a global computer network; Broadcasting services and provision of
                    telecommunication access to films and television programmes provided via a video-on-demand service;
                    Broadcasting services and provision of telecommunication access to video and audio content provided via
                    a video-on-demand service via the Internet; Streaming of audio material on the Internet; Streaming of

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                    Internet; Video streaming services via the Internet, featuring independent films and movies. FIRST USE:
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                    IC 042. US 100 101. G & S: Hosting an online website featuring the uploading, downloading, editing,
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                    pictures, images, text, audio and/or other electronic media or information; provision of information in the
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                    communications network. FIRST USE: 20060731. FIRST USE IN COMMERCE: 20060731
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